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               IN THE UNITED STATES DISTRICT COUJ8:LE~}~
              FOR THE NORTHERN DISTRICT OF GEORGIA . .
                                                               Atlanta      g~.'ERK'S
                                                                                 - OFFICE
                         ATLANTA DIVISION        ,.    MA'< \ 0 202\
                                                                          ES N. HATTEN, Clerk
                                                                                     Deputy Clerk

       TRINAE WATKINS,
                                         CIVIL ACTION NO.
             Plaintiff,

                                         JURY TRIAL DEMANDED
                 v.
   UNITED PARCEL SERVICE
GENERAL SERVICES CO. and UPS
  SUPPLY CHAIN SOLUTIONS
                                                      J. :21 ...CV-1 9B5
   GENERAL SERVICES, INC.,


            Defendants.



                          COMPLAINT FOR DAMAGES

          COMES NOW, Plaintiff Trinae Watkins (hereinafter "Plaintiff' or

    "Ms. Watkins") and hereby files this Complaint for Damages against

   . Defendants United Parcel Service General Services Co. and UPS Supply

    Chain Solutions General Services, Inc. (hereinafter collectively "UPS" or .

    "Defendants") showing this Court as follows:

                          NATURE OF TIDS ACTION

 1. This is an action for race discrimination in violation of 42 U.S.C. § 1981 and
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   Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et

   seq. ("Title VII"), age discrimination in violation of the Age Discrimination

   in Employment Act of 1967, 29 U.S.C. § 621 et seq. (the "ADEA"), and

   retaliation in violation of the ADEA and Title VII.

2. Ms. Watkins seeks injunctive and equitable relief, back pay and lost benefits,

   front pay or reinstatement, compensatory damages, punitive damages,

   liquidated damages, attorney's fees and costs for Defendants' violations of.

   the ADEA, Title VII, and 42 U.S.C. § 1981.

                    ADMINISTRATIVE PROCEDURE

3. On August 27,.2019, Mrs. Watkins filed a timely Charge of Discrimination

   with the Equal Employment Opportunity Commission (Charge No. 410-

   2019-08237) complaining of the discriminatory and retaliatory actions

   challenged in this Complaint.

4. Ms. Watkins seeks injunctive and equitable relief, back pay and lost benefits,

   front pay or reinstatement, compensatory damages, punitive damages,

   liquidated damages, attorney's fees and costs for Defendants' violations of

   the ADEA, Title VII, and 42 U.S.C. § 1981.

5. On February 10, 2021, Ms. Watkins received her Notice of Right to Sue from


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   the EEOC.

6. Ms. Watkins timely filed her Complaint for Damages within ninety (90) days

   of receiving her Notice of Right to Sue.

                          JURISDICTION & VENUE

7. Plaintiff's claims present federal questions over which the Court has

   jurisdictionpursuantto 28 U.S.C. § 1331, § 1343(a), and42 U.S.C. § 2000e-

   5(f)(3).

8. Venue is proper pursuant to 42 U.S.C. § 2000e-5(f)(3) and pursuant to 28

   U.S.C. § 1391(b) and (c), as every act of which Plaintiff complains occurred

   in the Atlanta Division of the United States District Court for the Northern

   District of Georgia.

9. Plaintiff submits herself to the jurisdiction of this Court.

10.Defendant United Parcel Service General Services Co. is a foreign

   corporation that was registered with the Secretary of State to conduct

   business in the State of Georgia at all times relevant to the allegations in this

   complaint and may be served with process upon its registered agent, CSC of

   Cobb County, Inc., 192 Anderson Street, SE, Suite 125, Marietta, GA 30060.

11.Defendant UPS Supply Chain Solutions General Services, Inc., is a foreign

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   corporation that was registered with the Secretary of State to conduct

   business in the State of Georgia at all times relevant to the allegations in this

   complaint and may be served with process upon its registered agent, CSC of

   Cobb County, Inc., 192 Anderson Street, SE, Suite 125, Marietta, GA 30060.

12.At all times relevant to Plaintiffs clauns; Defendants employed 15 or more

   employees for each working day in at least 20 or more calendar weeks,

   including Plaintiff~

13 .At all times relevant to Plaintiffs claims, Defendants have been engaged in

   an industry affecting commerce within the meaning of Section l l(h) of the
   ADEA, 29 U.S.C. § 630(h).

                          FACTUAL ALLEGATIONS

14.Plaintiffwas employed by United Parcel Service General Services Co.

15. Plaintiff was employed by UPS Supply Chain Solutions General Services,

   Inc.

16.On May 1, 2006, Ms. Watkins, an African American woman over the age of

  forty (40), began working for UPS as a Business Analyst. She was hired to

   support the GBS PO application.

17. Sometime in 2010, Ms. Watkins continued in her role as Business Analyst and


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   was given the additional responsibility of writing functional requirement

   do~uments and was given more functional work in business analyst analysis.

19.Ms. Watkins was excelling at her job. She was the only person to pass her

   BA 101 and BA 102 exam on her first attempt.

20.Sometime in 2012, Ms. Watkins began working as a release manager under

   the leadership of Devi Sadagopan.

21.Sometime in 2018, Ms. Watkins was told that she should continue in her

   current role, but was also required to pick up some additional project

   management tasks.

22. While she was performing the role as Project Manager, which is considered

   a higher level position than Business Analyst, she was not given the pay raise

   associate with the Project Manager position nor was she given the official

   title.

23. In 2018, Mark Caniparoli, a White male, became the manager of Ms.

  Watkins team.

24.Also in 2018, Ron Chambliss an African American coworker, filed an EEOC

   complaint for race discrimination and retaliation.

25. ~n October 2018, Ms. Watkins was interviewed by Charles Eure in Human

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   Resources and she was specifically asked about Mark Caniparoli and

   whether he had racially discriminated against Mr. Chambliss.

26. Ms. Watkins told Mr. Eure that she believed that Mr. Caniparoli was being

   racially discriminatory to 'Mr. Chambliss because she had witnessed Mr.

   Caniparoli being demeaning to Mr. Chambliss and that he had also been

   racially discriminatory to Ms. Watkins by intentionally skipping over Ms.

   Watkins when it was her tum to talk during team meetings.

27 .After Ms. Watkins spoke out about the race discrimination she witnessed

   and experienced at UPS, in early 2019, she began experience retaliation as a

   result.

28. For example, Ron Chambliss and Ms. Watkins were the only project

   managers who were required to write daily Stand up meeting notes. None of

   the other project managers were required to do so.

29.Ms. Watkins was not being included in key project management meetings

   despite being a de facto project manager and many Stand up team members

  were uncooperative.

30.Additionally, Ms. Watkins team leader, Sara Thorpe, told Ms. Watkins that

   she was asked by management to sit behind Ms. Watkins to watch her and

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   track her every move. Nobody else on the team was subjected to,this.

31. On August 27, 2019, Ms. Watkins filed her EEOC charge of discrimination

   for the discrimination and retaliation she was subjected to at UPS. ·

32.Ms. Watkins performance began to be judged on a different, harsher standard

   than the other project managers.

33. After filing her EEOC complaint, Project Managers were asked to send out

   reports to management on their releases.

34. Ms. Watkins held to a harsher, stricter standard when it came to the format

   of the project release status reports.

35.Mr. Caniparoli would use Ms. Watkins formatting of the status reports to

   write her up.

36.Other Project Managers were not adhering to the format and they were not

   written up for it.

3 7. When Ms. Watkins would point out that other Project Managers were not

   adhering to the stricter format, she was ignored.

38. Ms. Watkins was held to a harsher, stricter standard when it came to Wrike

   updates as well.

39.Mr. Caniparoli consistently used the Wrike updates to discredit Ms Watkins .

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   performance. Even though, Ms. Watkins own team leader, Sara Thorpe, told

   her that her Wrike updates were good.

40. In fact, Ms. Watkins Wrike updates were better than most of Ms. Watkins

   team members. .

41. Ms. Watkins was placed on a Focused Coaching session which eventually

   led to Ms. Watkins being placed on a Performance Improvement Plan (PIP).

42. On April 30, 2020, Ms. Watkins was fired from her job at UPS.

                     COUNT I: AGE DISCRIMINATION

43.Ms. Watkins incorporates by reference each and every preceding paragraph

   as if fully set forth herein.

44.Defendants discriminated against Ms. Watkins because of her age, in

   violation of the ADEA, 29 U.S.C. §§ 621 et seq.

45.Defendants' discriminatory practices have deprived Ms. Watkins of

   equal employment opportunities, wages, retirement, and other benefits,

   and equal treatment in the terms and conditions of her employment, thus

  damaging Ms. Watkins in an amount to be proven at trial.

46.Ms. Watkins 1s entitled to· an award of back pay and benefits,

   reinstatement or front pay, liquidated damages, injunctive relief,


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   attorney's fees, and all other appropriate damages, remedies , and other

   monetary and equitable relief available under the ADEA.

                COUNT II: RACE DISCRIMINATION

47. Ms. Watkins incorporates by reference each and every preceding

   paragraph as if fully set forth herein.

48.Defendants' discriminatory actions against Plaintiff because she is Black are

   in direct violation of 42 U.S.C.- § 1981 and Title VII of the Civil Rights Act

   of 1964, as amended, 42 U.S.C. §2000e et seq.

                          COUNT III: RETALIATION

49 .Ms. Watkins incorporates by reference each and every preceding paragraph

   as if fully set forth herein.

50 .Defendants' actions against Plaintiff following her complaints of

   discrimination on behalf of Mr. Chambliss were committed with reckless

   disregard for her right to be free from discriminatory treatment on account

   of her opposition to discriminatory practices and in violation of the ADEA,

   29 U. S.C. §§621 et seq and Title VII of the Civil Rights Act of 1964, as

   amended, 42 U.S.C. §2000e et seq.

51.Defendants' actions against Plaintiff following her filing an EEOC charge

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   against Defendants were committed with reckless disregard for her right to

   be free from discriminatory treatment on account of her opposition to

   discriminatory practices and in violation of the ADEA, 29 U. S.C. §§621 et

   seq and Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

   §2000e et seq.

52.As a result of Defendants' discriminatory conduct, Ms. Watkins suffered lost

   wages and other benefits of employment, emotional distress, inconvenience,

   humiliation, damage to her career, and other indignities.

53.Defendants' discriminatory practices have deprived Ms. Watkins of equal

   employment opportunities, wages, retirement, and other_benefits, and equal

   treatment in the terms and conditions of her employment, thus damaging

   Plaintiff in an amount to be proven at trial.

54.Defendants acted maliciously, willfully, wantonly, oppressively, and/or

   recklessly, toward .Ms. Watkins, authorizing a punitive damages award

   against Defendants.

55.Because of Defendants' violations of Title VII and the ADEA, Ms._Watkins

   is entitled to an award of back pay and benefits, reinstatement or front pay,

  compensatory and punitive damages, injunctive relief, attorney's fees, and

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          all other appropriate damages, remedies, and other monetary and equitable

       relief available under all federal statutes providing remedies for violations

          of the ADEA and Title VII.

                              PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands a TRIAL BY JURY and that the following relief

be granted:

A. That the Court take jurisdiction of this matter;

B. That process be served;     ·

C. That the Court award Plaintiff back pay and other lost benefits;

D. That the Court award Plaintiff front pay or other prospective relief;

E. That the Court award compensatory damages in an amount to be determined by

the trier of fact;

F. That the Court award Plaintiff punitive damages in an amount to be determined

by the trier of fact;

G. That the Court award Plaintiff her reasonable attorneys' fees and costs in this

action;

H. That the Court grant Plaintiff the right to have a jury trial on all issues triable

to a jury; and

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I. That the Court grant such additional relief as the Court deems proper and just.

Respectfully submitted this 10th day of May, 2021.




                                                ~$l~~             Trinae Watkins
                                                             114 Chase Road NE
                                                                   Huntsville, AL
                                                           Phone: (256) 658-0205




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